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           Complaint Exhibit A
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Redeterminations-Confirmed & (DOR)


Details

Date of Receipt                 DCN                             Submitted By
09/19/2022                      22259073000523                  LAURIE HOLTSFORD

Status                          Medicare ID                     Date From
Confirmed & (DOR)               MULTIPLE                              /2022



History

    09/16/2022      Submitted
                    The portal has received the submission


    09/19/2022      DOR Received
                    The portal has confirmed the submission

Files

  You sent us                                       Files generated by your submission
  East 340B recon CY22.pdf                          User entered information in PDF format
                 Case 1:22-cv-03367-RC Document 1-1 Filed 11/02/22 Page 6 of 45

Redetermination: First Level Appeal - JJ Part A

Provider Information
Contract/Region:                        10111/Part A Alabama
Provider Name:                          THE HEALTH CARE AUTHORITY FOR BAPTIST
Provider Number (PTAN):                 010149
National Provider Identifier (NPI):     1104917780
Address Line 1: *                       400 Taylor Road
Address Line 2:
City/State/Zip: *                       Montgomery, AL 36117
Provider Phone Number: *                334-747-4307
Tax ID:                                 203204949

Requestor Information
Requestor Name: *                       Laurie Holtsford
Requestor Phone Number: *               334-747-4307
Requestor Address 1: *                  301 Brown Springs Road
Requestor Address 2:
Requestor City/State/Zip: *             Montgomery, AL 36117

Appeal Type
Appeal Type: *                          Non-Overpayment

Patient & Claims Information
Patient Name: *                         MULTIPLE
Medicare ID: *                          MULTIPLE
Date From: *                                /2022
Date To: *                                  /2022
Claim Numbers (DCN): *                  MULTIPLE

Code(s) Being Appealed: *               MULTIPLE

Reason for        These CY22 claims should be paid at a rate of ASP plus 6 percent. Instead
Appeal: *         effective FY18 through present, CMS has reduced payments for separately payable
                  drugs to ASP minus 22 percent. Payment should be 1275.60 for this drug as as
                  example for this hospital's calendar year as attached.

Email Id:*                              ljholtsford@baptistfirst.org
Name: *                                 Laurie Holtsford
Date: *                                 Fri Sep 16 18:45:40 EDT 2022
                   Case 1:22-cv-03367-RC Document 1-1 Filed 11/02/22 Page 7 of 45

ATTACHMENTS

Number of files attached:*               1
Attachments:                             East 340B recon CY22.pdf




* Required Field                                                                    AP-JJ-A-1000
                 Case 1:22-cv-03367-RC Document 1-1 Filed 11/02/22 Page 8 of 45

Redetermination: First Level Appeal - JJ Part A

Provider Information
Contract/Region:                         10111/Part A Alabama
Provider Name:                           The Health Care Authority for Baptist Health, an affiliate o
Provider Number (PTAN):                  010023
National Provider Identifier (NPI):      1700977105
Address Line 1: *                        2105 E South Blvd
Address Line 2:
City/State/Zip: *                        Montgomery, AL 36116
Provider Phone Number: *                 334-747-4307
Tax ID:                                  203204949

Requestor Information
Requestor Name: *                        Laurie Holtsford
Requestor Phone Number: *                334-747-4307
Requestor Address 1: *                   301 Brown Springs Rd
Requestor Address 2:
Requestor City/State/Zip: *              Montgomery, AL 36117

Appeal Type
Appeal Type: *                           Non-Overpayment

Patient & Claims Information
Patient Name: *                          MULTIPLE
Medicare ID: *                           MULTIPLE
Date From: *                                 /2022
Date To: *                                   /2022
Claim Numbers (DCN): *                   MULTIPLE

Code(s) Being Appealed: *                MULTIPLE

Reason for        These CY22 claims should be paid at a rate of Average Sales Price (ASP) plus 6
Appeal: *         percent. Instead, effective FY18 through present, CMS has reduced payments for
                  separately payable drugs to ASP minus 22 percent, in contravention of the clear
                  statutory requirements for calculating such reimbursement. See 42 USC Sect
                  1395(t)(14)(A)(iii)(i)-(ii): see also 82 Fed Reg 52356, 52493-511 52622-25. The
                  payment(s) should be $65,419.57 for the specific drugs in the example provided
                  attached

Email Id:*                               ljholtsford@baptistfirst.org
Name: *                                  Laurie Holtsford
Date: *                                  Fri Sep 16 18:34:47 EDT 2022
                   Case 1:22-cv-03367-RC Document 1-1 Filed 11/02/22 Page 9 of 45




ATTACHMENTS

Number of files attached:*               1
Attachments:                             South 340B recon CY22.pdf




* Required Field                                                                    AP-JJ-A-1000
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Case 1:22-cv-03367-RC Document 1-1 Filed 11/02/22 Page 11 of 45
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Redeterminations-Confirmed & (DOR)


Details

Date of Receipt                 DCN                             Submitted By
09/19/2022                      22259073000522                  LAURIE HOLTSFORD

Status                          Medicare ID                     Date From
Confirmed & (DOR)               MULTIPLE                              /2022



History

    09/16/2022      Submitted
                    The portal has received the submission


    09/19/2022      DOR Received
                    The portal has confirmed the submission

Files

  You sent us                                       Files generated by your submission
  South 340B recon CY22.pdf                         User entered information in PDF format
Case 1:22-cv-03367-RC Document 1-1 Filed 11/02/22 Page 26 of 45
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Redetermination: First Level Appeal - JJ Part A

Provider Information
Contract/Region:                       10111/Part A Alabama
Provider Name:                         UAB Hospital
Provider Number (PTAN):                010033
National Provider Identifier (NPI):    1154435824
Address Line 1: *                      619 19th Street S
Address Line 2:
City/State/Zip: *                      Birmingham, AL 35249
Provider Phone Number: *               205-234-6120
Tax ID:                                636005396

Requestor Information
Requestor Name: *                      Rebecca Nix
Requestor Phone Number: *              205-234-6120 (Same as Provider Phone Number)
Requestor Address 1: *                 500 22nd Street South
Requestor Address 2:                   Suite 406C
Requestor City/State/Zip: *            Birmingham, AL 35233

Appeal Type
Appeal Type: *                         Non-Overpayment

Patient & Claims Information
Patient Name: *                        MULTIPLE
Medicare ID: *                         MULTIPLE
Date From: *                               /2022
Date To: *                                 /2022
Claim Numbers (DCN): *                 MULTIPLE

Code(s) Being Appealed: *              MULTIPLE

Reason for       These CY 2022 claims should be paid at a rate of Average Sales Price (âASPâ)
Appeal: *        plus 6 percent. Instead, effective FY 2018 through the present, CMS has reduced
                 payments for separately payable drugs to ASP minus 22 percent, in contravention
                 of the clear statutory requirements for calculating such reimbursement. See 42
                 U.S.C. Â§ 1395l(t)(14)(A)(iii)(I)-(II); see also 82 Fed. Reg. 52356, 52493-511
                 52622-25 (Nov. 13, 2017); 86 Fed. Reg., 63458, 63644 (Nov. 16, 2021). The
                 payment(s) should be $23,753.44.

Email Id:*                             rlnix@uabmc.edu
Name: *                                Rebecca Nix
Date: *                                Mon Oct 3 10:57:15 EDT 2022
                   Case 1:22-cv-03367-RC Document 1-1 Filed 11/02/22 Page 44 of 45




ATTACHMENTS

Number of files attached:*                1
Attachments:                              Appeals Due 10152022_10192022.pdf




* Required Field                                                                     AP-JJ-A-1000
                                           Case 1:22-cv-03367-RC Document 1-1 Filed 11/02/22 Page 45 of 45




  Bill NPI Patient Account   PatientName   Date of Birth   MedicareID          ICN#       DateFrom    DateTo    HCPCS   Units       Total Expected Amount:
1154435824                                                              22215400271407ALA     /2022      2022   J0897     60    $                          994.97
1154435824                                                              22215400253007ALA 5    2022     /2022   J0129     75    $                        2,568.15
1154435824                                                              22215400288707ALA      2022     /2022   J7308     2     $                          611.55
1154435824                                                              22215400268407ALA       022     /2022   J9217     3     $                          394.74
1154435824                                                              22215400262907ALA      2022     /2022   J1561     4     $                          134.29
1154435824                                                              22215400253407ALA     /2022     /2022   J0485    500    $                        1,475.76
1154435824                                                              22215400406707ALA      2022     /2022   J0185    130    $                          175.42
1154435824                                                              22215400406707ALA     /2022     /2022   J9173    150    $                        9,021.52
1154435824                                                              22215700405107ALA     /2022     /2022   J9271    200    $                        8,377.04
                                                                                                                                $                       23,753.44
